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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


 SBI CRYPTO CO., LTD.,                      Civil Action No.: 6:23-cv-252-ADA-JCM

       Plaintiff,

              v.

 WHINSTONE US, INC.,

       Defendant.


                      PLAINTIFF’S AMENDED COMPLAINT

      Plaintiff, SBI Crypto Co. Ltd., (“SBIC”) files this Amended Complaint against

Defendant, Whinstone US, Inc. (“Whinstone”), and alleges as follows:

                                         I.
                                       PARTIES

      1.     Plaintiff SBIC is a foreign company duly organized and existing under the

laws of Tokyo, Japan with its principal place of business located at 1-6-1 Roppongi,

Minato-ku, Tokyo, Japan.

      2.     Defendant Whinstone is a corporation duly organized and existing under

the laws of the State of Delaware, with its principal place of business at 2721 Charles

Martin Hall Road, Rockdale, Texas 76567, and may be served by personal service through

its national registered agent, National Registered Agents, Inc., at 1999 Bryan St. Suite

900, Dallas, Texas 75201-3136.

                                          II.
                              JURISDICTION AND VENUE

      3.     Personal jurisdiction and venue are proper in this Court pursuant to an

agreement between the parties, as more fully described herein. Specifically, the


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aforementioned agreement provides that “the parties hereby consent to the exclusive

jurisdiction of the Texas courts.”

       4.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a).

Complete diversity of citizenship exists, and the amount in controversy exceeds $75,000,

exclusive of costs and interest.

                                           III.
                                   FACTUAL ALLEGATIONS

A.     Introduction and Summary

       5.     SBIC is a cryptocurrency mining company.

       6.     Cryptocurrency mining companies generally use specially designed

computing equipment to calculate a hash solution that secures validated transactions on

a blockchain network, and add that transaction to the distributed ledger so that it becomes

immutable. In so doing, companies like SBIC compete to “mint” new cryptocurrency such

as Bitcoin.

       7.     The computing power necessary to engage in large scale mining results in

high electrical and cooling costs. Thus, the performance of mining equipment directly

correlates with electrical power and environmental conditions. Conversely, inadequate

cooling, ventilation, and dust filtration negatively impact the speed and efficiency of

mining equipment.

       8.     A mining company maximizes its computational hash or operational output

when operating mining equipment in an optimal environment. Stated differently,

operating mining equipment in an optimal environment generates the highest

opportunity to achieve potential profits in the form of newly minted crypto coins (or

“mining rewards”). Consequently, maintaining an optimal environment by ensuring the



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highest speed and performance of mining equipment is essential to maximize mining

operation profitability.

       9.     Whinstone operates a cryptocurrency mining facility and datacenter in

Rockdale, Texas.

       10.    Mining facilities provide mining operators an optimal environment to

operate their mining machines. To secure crypto mining businesses, Whinstone promised

to provide a secure location with a consistent and stable source of electrical power,

sufficient heat dissipation, and a managed operating environment which are standardized

and set forth in the parties’ hosting service agreement.

       11.    In July 2019, Whinstone and SBIC entered into an agreement for a

Whinstone to host 20,000 cryptocurrency miners in Pyote, Texas. That agreement,

however, fell through.

       12.    Following the failure of that agreement, Whinstone made numerous

representations and warranties concerning power capacity, permits, and operating

conditions to induce SBIC to enter into a new hosting service agreement at Whinstone’s

Rockdale facility.

       13.    However, Whinstone’s representations about its Rockdale facility were

false. Specifically, Whinstone deliberately misled SBIC into believing it held the requisite

building permits and power contracts to perform as promised and then concealed the

substandard conditions at its facility.

       14.    The lack of permits and power contracts delayed the ramp-up of SBIC

mining operations and cost SBIC millions in lost revenue. Whinstone’s failure to provide

a datacenter environment in accordance with the parties’ agreement and basic industry

standards directly led to the underperformance of SBIC mining operations and damage


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to SBIC’s mining equipment.

       15.     In sum, Whinstone’s deceptive acts and omissions caused SBIC to lose

millions in lost profits and millions more in damaged mining equipment.

B.     Whinstone fraudulently induces SBIC to enter into Hosting Service
       Agreement

       16.     In early 2019, SBIC visited and negotiated with several potential

datacenters to host its mining equipment before ultimately deciding to enter into an

agreement with Whinstone.

       17.     In April 2019, SBIC signed a $30 million purchase order for 40,000 Avalon

A10 mining machines from Canaan, Inc. (“Canaan”). Half (20,000) of those machines

were sent to the Whinstone facility with the other half delivered to another datacenter

facility in 2021.

       18.     On July 10, 2019, SBIC and Whinstone entered into a hosting service

agreement for a facility in Pyote, Texas. That agreement anticipated the commencement

of operations in October 2019.

       19.     Despite the parties’ agreement, SBIC’s mining operations were delayed after

Whinstone failed to secure sufficient electrical power for the Pyote facility.

       20.     On October 24, 2019, Whinstone persuaded SBIC to enter into a new

agreement (the “Hosting Service Agreement”) by offering hosting space and management

services at its facility in Rockdale, Texas.

       21.     In late 2019, SBIC delivered to Whinstone 20,000 A10-model mining

machines along with $3.4 million in power supply units (“PSUs”) (collectively, “SBIC’s

Equipment” or “SBIC Equipment”). SBIC also prepaid to Whinstone $9,685,000 for

power and fees to help Whinstone finance the final buildout of the Rockdale facility.



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       22.    As part of Whinstone’s efforts to induce SBIC to enter into the new Hosting

Service Agreement, Whinstone represented it had “secured for commercial access up to

one (1) gigawatt of aggregated electricity that can be delivered to the Data Center, of which

a portion of that may be incrementally offered to [SBIC].”

       23.    This representation was false at the time it was made because Whinstone

had not, in fact, secured commercial access to one (1) gigawatt of aggregated electricity

for the Rockdale facility and would not secure signed power contracts until just before

operations began in the summer of 2020.

       24.    Nevertheless, following Whinstone’s failure to secure sufficient electricity

for the proposed Pyote facility, the aforementioned (false) representation (that

Whinstone had secured commercial access to one (1) gigawatt of aggregated electricity for

the Rockdale facility) was a material addition to and modification of the parties’ prior

agreement. Moreover, the representation was material to SBIC’s decision to enter into the

new Hosting Service Agreement in October 2019.

       25.    Additionally, Whinstone’s representation regarding secured electrical

capacity constituted a material representation because it served as an assurance to SBIC

that Whinstone could quickly provide the requisite scale and capacity to host SBIC and

its other customers at the inception of operations. Further, because a facility with a one

(1) gigawatt capacity yields volume discounts in electricity pricing, Whinstone’s

misrepresentation constituted a further inducement to SBIC to enter into the new Hosting

Service Agreement.

       26.    SBIC relied on Whinstone’s misrepresentations as an inducement to enter

into the new Hosting Service Agreement. To be sure, were it not for Whinstone’s express

assurance that it secured one (1) gigawatt of electricity for commercial use, SBIC would


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have elected to discontinue its relationship with Whinstone, given Whinstone’s prior

failure to secure sufficient electrical power for the Pyote facility.

       27.    Once operations commenced—despite its prior (false) representation that it

already secured one (1) gigawatt of electricity—Whinstone’s failure delayed sufficient

electricity supply to SBIC’s mining operations. SBIC only learned of Whinstone’s

misrepresentation through press releases and SEC filings by Whinstone and its parent

company, Riot Blockchain, in the later half of 2021.

       28.    Further, to induce SBIC to enter into the new Hosting Service Agreement,

Whinstone represented that additional building permits, city inspections, and

certifications were “not required with regard to providing services” under the Hosting

Service Agreement. This representation was also false. Specifically, in the months before

June 2020 (when delayed operations finally began), SBIC learned that certain

certifications and inspections were, in fact, required to turn on power, despite

Whinstone’s prior false representations to the contrary.

       29.    Finally, in late June 2020, Whinstone began operation of a small number of

SBIC’s Equipment and operations continued to increase through August 2020.

Whinstone’s failure to obtain sufficient electrical power and its additional failure to obtain

certain permits and certifications necessary to operate at full capacity meant that

Whinstone could not ramp-up and operate SBIC’s Equipment at full capacity.

       30.    Whinstone’s inability to operate SBIC’s Equipment at full capacity, along

with other delays in operations at the facility, directly caused SBIC to lose out on the

Bitcoin rewards it would have otherwise obtained.

       31.    The Hosting Service Agreement requires Whinstone to provide SBIC with

notice of power outages and curtailments. But during this period, Whinstone regularly


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failed to provide SBIC with any such notice despite the occurrence of multiple power

outages and curtailments. Whinstone also regularly failed to provide invoices and power

meter data (which is the basis for Whinstone’s fees) as required under the Hosting Service

Agreement.

C.     Whinstone fraudulently conceals                      from      SBIC      the    substandard
       conditions at the Rockdale facility

       32.     In August and September 2020, SBIC complained to Whinstone that, based

on the production of Bitcoin mined, it appeared to SBIC that not all of its machines were

up and running at full capacity. 1 When SBIC communicated to Whinstone that its

equipment was underperforming, Ashton Harris at Whinstone blamed the software

provided by Northern Data 2 and the mining equipment manufactured by Canaan. In

August of 2020, Whinstone opened up circuit boards manufactured by Canaan, took

photographs of the circuit boards, and Whinstone’s CEO, Chad Harris, accused Canaan

of providing poorly manufactured PSUs. Chad Harris further asserted that there were no

heating or other issues at the facility.

       33.     Based on Whinstone’s claims that Canaan had provided poorly

manufactured equipment, SBIC attempted to open communication channels between the

two. Between September and November 2020, Canaan complained about Whinstone’s

general unresponsiveness to its requests for information. By November 2020, Canaan’s

review of Whinstone data logs indicated that SBIC’s machines were overheating, as well


       1 At this juncture, SBIC also became concerned that it was receiving inaccurate billing for power.

On multiple occasions, SBIC and Whinstone discussed the lack of power monitoring data and inconsistent
invoicing. The parties agreed to install and use power meter data for future invoices, which Whinstone
installed in October 2020.

       2 In late 2019, it was publicly announced that Whinstone would be merging with Northern Data AG

(“Northern Data”), a software and datacenter management company. Northern Data provided datacenter
management software at the Rockdale facility.


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as other indicia of poor datacenter conditions, which Ashton Harris and others at

Whinstone denied.

       34.     When Canaan requested physical access to Whinstone’s facility and VPN 3

to verify its preliminary analysis, Whinstone refused and insisted that there were no

issues at the facility. Whinstone eventually ceased all communications with Canaan in

December 2020.

       35.     From approximately February 2020 to the first half of 2021, SBIC’s

employees could not freely travel to and from Japan because of Covid travel restrictions.

Consequently, SBIC relied on Whinstone’s active concealment and false representations

that the facility did not suffer from overheating and other environmental issues. Instead

of fully disclosing the actual cause of the underperformance of SBIC’s equipment,

Whinstone recommended SBIC purchase replacement PSUs from Whinstone, directly.

Thus, in April 2021, SBIC purchased 4,000 PSUs from Whinstone at a cost to SBIC of

$72,000.

       36.     The truth is that Whinstone falsely represented to SBIC in the Hosting

Services Agreement that it would provide an installation environment for SBIC’s

Equipment, including but not limited to specific “Licensed Areas” in two separate

buildings as well as rack systems, electricity supply (including a power distribution unit),

transforming equipment, free airflow, and an evaporative-cooling system. But despite its

contractual representations, Whinstone failed to provide the separate buildings, adequate

rack systems, and electricity supply.

       37.      The new Hosting Service Agreement called for an evaporative cooling



       3 Virtual Private Network.




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system as a primary measure to dissipate heat and prevent the overheating of SBIC’s

Equipment.

       38.    However, Whinstone failed to operate an evaporative cooling system,

despite its representations that additional permits, city inspections, or certifications were

not required for Whinstone to successfully provide services pursuant to the Hosting

Service Agreement.

       39.    Whinstone repeatedly represented to SBIC that the facility contained an

evaporative cooling system and that regardless, any heating issues at the facility could be

resolved without an evaporative cooling system. Specifically, even though Whinstone

installed cooling sheets at the facility, the facility contained no running water until June

2021. Whinstone, however, never informed SBIC of the unavailability of water for

evaporative cooling and repeatedly and falsely communicated that the facility did not

experience any heat related problems.

D.     SBIC performs first visit to the facility on June 10, 2021 and discovers
       true environmental conditions at the facility

       40.    On May 26, 2021, Riot Blockchain, Inc. acquired Whinstone pursuant to a

Stock Purchase Agreement, dated as of April 8, 2021. Section 13.3 of the Hosting Service

Agreement provides that, upon any acquisition of Whinstone, either SBIC or the

Whinstone may terminate the Hosting Service Agreement by thirty (30) days’ prior

written notice. Accordingly, on May 28, 2021, Whinstone notified SBIC of its termination

of the Hosting Service Agreement.

       41.    SBIC employees visited the facility on June 10, 2021. This was SBIC’s first

visit to the facility after operations began. Consequently, SBIC did not learn of the true

environmental conditions of the facility (as outlined above) until its visit. The visit



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revealed to SBIC the dirty floors and racks, lack of dust filters, inadequate recirculation

of air, and the non-operating water-cooling curtains at the facility. Prior to its employees

visiting the facility on June 10, 2021, SBIC relied on the multiple representations from

Whinstone’s    representatives    concerning    the   causes    of   SBIC’s   Equipment’s

underperformance, as well as the representations and warranties made in the Hosting

Service Agreement.

       42.    SBIC took photos of dust collecting inside the datacenter, the machines, and

on racks.




 [Photographs of some of the conditions at the facility are contained on the next page]




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      43.    At the onsite visit, SBIC’s representatives opened up a miner in front of

Ashton Harris, Whinstone’s co-founder and chief information officer, and the individual

responsible for managing the information and computer systems. Even Mr. Harris

observed and acknowledged the high levels of dust and corrosion build-up.

      44.    The facility also housed equipment belonging to other Whinstone

customers. During the aforementioned onsite visit, SBIC observed that Whinstone

provided its other customers’ equipment with dust filters—the same dust filters which

were noticeably absent on SBIC’s Equipment housed in the very same facility. This was a

shocking discovery, considering that on more than one occasion, Whinstone confirmed


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with SBIC that dust filters had been installed on SBIC’s Equipment.

        45.   On June 25, 2021, SBIC accessed data provided by miners using

Whinstone’s VPN portal. The data contained in the miners indicated a low hash rate (a

measure of computational power utilized for mining), overheating, and misconfiguration

of equipment. It was then that SBIC learned that some equipment was never changed

from its default configuration and thus, never put into use for SBIC’s mining operations.

E.      SBIC suffers millions in damages as a result of Whinstone’s deceptions
        and its breaches of the Hosting Service Agreement

        46.   As described above, Whinstone noticed its termination of the Hosting

Service Agreement on May 28, 2021. In response, SBIC visited the facility on June 10,

2021 to prepare its machines and equipment for shipment out of the facility and into

storage for potential reuse or resale. SBIC’s equipment was moved out of the facility in

July and August of 2021.

        47.   Thereafter, SBIC spent months looking to reuse its equipment at another

facility. Indeed, the substandard operating conditions at the Rockdale facility became

widely known by potential buyers after industry media coverage of Whinstone’s sale to

Riot Blockchain, Inc., unwittingly revealed pictures of dust and corrosion at the facility.

        48.   Whinstone’s misrepresentations, partial disclosures, and concealment of

material information after operations began are numerous and/or contrary to the

Whinstone’s express representations in the Hosting Service Agreement, including:

              (1)    misrepresenting that the datacenter was well designed, and
                     conformed to industry standards after operations began (while
                     actively concealing the truth of the same);
              (2)    misrepresentations that the datacenter and racks were built and
                     configured to contractual requirements (actively concealing the truth
                     of the same);
              (3)    misrepresenting in the Hosting Service Agreement that building or


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                    other permits, city inspections, or certifications were not required
                    with regard to providing services pursuant to the parties’ contract;
             (4)    misrepresenting that the facility was not experiencing problems
                    related to overheating or excessive dust (deliberately concealing
                    harmful environmental conditions at the facility which inevitably
                    caused suboptimal performance SBIC equipment and physical
                    damage to the same);
             (5)    misrepresenting in the Hosting Service Agreement that one (1)
                    gigawatt of power was available at its Rockdale site and that 50
                    megawatts of power had been secured on October 24, 2019; and
             (6)    misrepresenting in 2019 and 2020 the availability of power after
                    delays despite not securing power until May 2020.

      49.    Moreover, Whinstone breached the Hosting Service Agreement in multiple

ways, including but not limited to the following:

             (1)    Whinstone relocated SBIC Equipment and placed another
                    customer’s equipment in the space used by SBIC while failing to
                    provide sufficient advanced smart hands services.
             (2)    Whinstone failed to install all SBIC Equipment within 30 days of the
                    October 3, 2019, Ready for Use (“RFU”) date and did not intend to
                    do so during the said 30-day period while continuing to make
                    misrepresentations that it would.
             (3)    Whinstone failed to maintain an intake temperature of less than 29
                    degrees Celsius due to its failure to operate evaporative cooling walls,
                    and willfully concealed this fact; and failed to turn off machines with
                    an intake temperature of greater than 29.5 degrees Celsius, and
                    failed to provide reports to SBIC that there were problems with heat.
             (4)    Whinstone failed to prevent the mixing of hot exhaust air with cool
                    air due to poor design of sizing of hot and cold aisles and insufficient
                    air pressurization and did not use exhaust or intake fans at all despite
                    industry knowledge that fans create a positive pressure system for
                    efficient airflow and reduce hot-cold air mixing.
             (5)    Whinstone failed to use filters in the air intake system designed to
                    prevent dust and dirt, while only using louvers and screens to prevent
                    large objects and precipitation from entering the datacenter.
             (6)    Whitestone failed to ensure the datacenter and air inside was free of
                    dust, dirt, insect particles, and corrosion which were found on the
                    insides SBIC’s equipment.
             (7)    Whinstone did not measure actual power consumption for billing
                    purposes for several months as power meters were not installed.
             (8)    Whinstone did not adhere to requirements of § 3.12.2 of the Hosting


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                     Service Agreement.
              (9)    Whinstone failed to maintain hashrate to performance guarantees or
                     specifications due to poor heat and dust control inside the
                     datacenter.
              (10)   Whinstone failed to provide services or a datacenter in accordance
                     with industry standards. Whinstone’s poor design, poor control of
                     dust and heat, and its efforts to hide those issues are contrary to any
                     professional standard. Additionally, several industry experts who
                     observed Whinstone’s datacenter attest that Whinstone has a poor
                     datacenter design and poor management of dirt and airflow inside
                     the datacenter.
              (11)   Whinstone failed to provide maintenance or regular reports when
                     hashrate fell below threshold levels.
              (12)   Whinstone failed on several occasions to give 24-hours’ notice of
                     downtime when it was known in advance or, when it was not known
                     in advance, provide notice as soon as possible afterwards. SBIC gave
                     several warnings to Whinstone regarding notifications.
              (13)   Whinstone failed to issue reports when 10 percent of machines were
                     offline, and in almost all instances, did not respond within the
                     required time.
              (14)   Whinstone did not secure up to one (1) gigawatt of electricity and had
                     not signed power contracts until just before operations began in
                     summer 2020, despite its explicit representation that it had done so.

       50.    The Hosting Service Agreement provides that “Whinstone shall not be liable

for any claim arising under this Agreement unless [SBI] gives Whinstone written notice

of the claim within twelve months of becoming aware of circumstances giving rise to the

claim.”

       51.    SBIC    gave    to   Whinstone     written     notice   of   breaches    (and

misrepresentations) on May 27, 2022 and June 3, 2022, respectively. The Hosting Service

Agreement, however, further provides that “neither party excludes or limits liability to the

other party for: … fraud or fraudulent misrepresentation.”

       52.    In sum, SBIC relied on the representations made in the Hosting Service

Agreement and subsequent representations made by Whinstone’s representatives, who




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suggested that the underperformance of SBIC’s Equipment was not the result of

environmental conditions or inadequate power at the facility, but poorly-built equipment.

When the manufacturer, Canaan, found indicia of possible overheating and poor

datacenter conditions, Whinstone provided to SBIC misleading or untrue information

and created a false impression by suggesting no heating issues existed at the facility and

further suggested that SBIC replace some of its equipment.

       53.    As a result of Whinstone’s concealment and misrepresentations, SBIC only

became aware of the facility’s environmental conditions when its employees visited the

facility on June 10, 2021.

       54.    While looking to resale or reuse its equipment, SBIC spent several months

moving that equipment to storage. SBIC timely noticed breach of contract on June 2,

2022, after its efforts to mitigate its damages proved futile.

       55.    At the time the parties entered in the Hosting Service Agreement, demand

for electric capacity was significantly lower and space for cryptocurrency mining

equipment was more readily available. Since the termination of the Hosting Service

Agreement, demand for electric capacity has increased substantially and SBIC has been

unable to find an economically viable company able to host its mining equipment at a

capacity close to the size of the facility promised by Whinstone.

       56.    SBIC performed all of its obligations under the Hosting Services Agreement

and all applicable conditions precedent to its breach of contract claim. It delivered to

Whinstone 20,000 A10-model mining machines and other equipment, it timely paid all

requisite costs and fees to Whinstone as agreed and it provided timely notice of its claim

under the Hosting Service Agreement.

       57.    Conversely, Whinstone’s conduct constitutes fraud, fraudulent inducement


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of contract, fraud by nondisclosure/concealment, negligent bailment, as well as breach of

the Hosting Service Agreement.

        58.   Whinstone’s conduct was knowing, intentional, willful, malicious, wanton,

and contrary to law.

        59.   As a direct result of Whinstone’s acts and omissions, SBIC suffered lost

profits in excess of $15,000,000 when SBIC’s Equipment went unused, underperformed,

and was damaged by the conditions at Whinstone’s facility.

        60.   As a direct result of Whinstone’s acts and omissions, SBIC suffered

additional damages in excess of $16,000,000, which is the approximate cost of the SBIC

Equipment damaged at the Rockdale facility, which otherwise could have been resold at

a profit.

        61.   SBIC also incurred attorneys’ fees and costs related to hiring counsel to

pursue these claims and is entitled to indemnity pursuant to ¶ 8.3 of the Hosting Service

Agreement.

                                          IV.
                                    CAUSES OF ACTION

A.      Count I – Breach of Contract

        62.   SBIC adopts and reincorporates the allegations in paragraphs 1 through 62

as set forth herein.

        63.   SBIC and Whinstone entered into a valid and enforceable contract, the

Hosting Service Agreement, dated Oct. 24, 2019.

        64.   59.      SBIC performed all of its obligations under the Hosting Services

Agreement and all applicable conditions precedent to its breach of contract claim. It

delivered to Whinstone 20,000 A10-model mining machines and other equipment, it



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timely paid all requisite costs and fees to Whinstone as agreed, and it provided timely

notice of its claim under the Hosting Service Agreement.

        65.   As outlined above and documented in SBIC’s June 3, 2022 notice to

Whinstone, Whinstone breached numerous terms of the Hosting Service Agreement.

        66.   As a proximate result of Whinstone’s breaches, SBIC suffered benefit-of-

the-bargain damages as a result of Whinstone’s breach, including lost profits, damages

related to the cost of damaged equipment, and/or as out-of-pocket costs in reliance on

the parties’ agreement in an amount to be determined by the trier of fact.

        67.   Moreover, any exclusion or limitation of liability under the Hosting Service

Agreement does not apply because Whinstone’s breaches were accompanied by and

accomplished through fraud.

        68.   SBIC is entitled to recover its reasonable attorneys’ fees against Whinstone

pursuant to Chapter 38 of the Texas Civil Practice & Remedies Code and the indemnity

provision found in ¶ 8.3 of the Hosting Service Agreement.

B.      Count II – Fraud/Fraudulent Inducement

        69.   SBIC adopts and reincorporates the allegations in paragraphs 1 through 62

as set forth herein.

        70.   As outlined above, Whinstone made material misrepresentations to SBIC,

including (1) that the datacenter was well designed and conformed to industry standards;

(2) that the datacenter could be built to contractual requirements; (3) that building

permits, city inspections, or other additional certifications were not required with regard

to providing services under the Hosting Service Agreement; (4) that the Rockdale facility

was not experiencing problems related to heat or dust; (5) that Whinstone had one (1)

gigawatt of aggregate electrical power was available at its Rockdale site on or before


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October 24, 2019; (6) that 50 megawatts of power had been secured on October 24, 2019;

and (7) that construction of the Rockdale facility was fully complete or near full

completion.

      71.     Whinstone knew its representations were false at the time it made

representations, including representations made in the Hosting Service Agreement,

and/or lacked knowledge of the truth concerning certain representations, and/or had no

intention of performing certain obligations at the time promised, and/or no intention of

performing in the future.

      72.     Whinstone     intended   that   SBIC   should   rely   and    act   on   their

misrepresentations by, inter alia, entering into the new Hosting Service Agreement

and/or continuing to perform its obligations under the same after operations began.

      73.     SBIC relied on Whinstone’s misrepresentations as inducement for entering

into the new Hosting Service Agreement and/or continuing to perform its obligations

under the same after operations began.

      74.     As a proximate result of Whinstone’s intentional misrepresentations upon

which SBIC relied, SBIC suffered benefit-of-the-bargain damages, including lost profits

in excess of $15,000,000, damages related to the cost of damaged equipment in excess of

$16,000,000, as well as out-of-pocket costs in reliance on Whinstone’s fraudulent

misrepresentations.

      75.     Whinstone’s fraudulent acts and omissions were committed knowingly,

intentionally, willfully, maliciously, or with wanton and gross negligence for which SBIC

should be awarded exemplary damages.

      76.     SBIC is entitled to recover its reasonable attorneys’ fees against Whinstone

pursuant to the indemnity provision provided in ¶ 8.3 of the Hosting Service Agreement.


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C.      Count III – Fraud by Nondisclosure and Concealment

        77.   SBIC adopts and reincorporates the allegations in paragraphs 1 through 62

as set forth herein.

        78.   Whinstone concealed from and/or failed to disclose certain facts to SBIC,

including (1) that the datacenter was not properly designed and did not conform to

industry standards; (2) that the datacenter was not built to contractual requirements;

(3) that additional building permits, city inspections, or other certifications were, in fact,

required with regard to Whinstone’s ability to provide services under the Hosting Service

Agreement; (4) that the Rockdale facility was experiencing significant problems related

to heat or dust; (5) that Whinstone had not in fact secured one (1) gigawatt of aggregate

electrical power at its Rockdale site as of October 24, 2019; (6) that not even 50 megawatts

of power had been secured on October 24, 2019; and (7) that construction of the Rockdale

facility was fully complete or near full completion.

        79.   Whinstone had a duty to disclose these full facts to SBIC because

(i) Whinstone discovered new information which made one or more prior representations

misleading or untrue, (ii) Whinstone created a false impression by making one or more

partial disclosures of certain facts, or (iii) Whinstone voluntarily disclosed some

information and therefore had a duty to disclose the whole truth.

        80.   These undisclosed facts were material and Whinstone knew that

(i) SBIC was ignorant of the facts, (ii) SBIC did not have an equal opportunity to discover

the facts, and/or (iii) Whinstone was deliberately silent when it had a duty to speak.

        81.    By failing to disclose the foregoing facts, Whinstone intended to induce

SBIC to enter into the new Hosting Service Agreement, perform its (SBIC’s) obligations

under the same, and refrain from further investigating Whinstone’s false representations.


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SBIC relied on Whinstone’s nondisclosures.

      82.    As a proximate result of Whinstone’s failure to disclose, SBIC suffered

benefit-of-the-bargain damages, including lost profits in excess of $15,000,000, damages

related to the cost of damaged equipment in excess of $16,000,000, as well as other out-

of-pocket costs in reliance on Whinstone’s fraudulent misrepresentations.

      83.    Whinstone’s fraudulent acts and omissions were committed knowingly,

intentionally, willfully, maliciously, or with wanton and gross negligence for which SBIC

should be awarded exemplary damages.

      84.    SBIC is entitled to recover its reasonable attorneys’ fees against Whinstone

pursuant to the indemnity provision provided in ¶ 8.3 of the Hosting Service Agreement.

                                        V.
                            REQUEST FOR ATTORNEYS’ FEES

      85.    SBIC is entitled to recover its attorneys’ fees and costs for this action,

pursuant to Chapter 38 of the Texas Civil Practice & Remedies Code, and/or the

indemnity provision found in ¶ 8.3 of the Hosting Service Agreement, and SBIC hereby

seeks such recovery from Whinstone of all its reasonable and necessary attorneys’ fees

and costs for prosecuting this action and obtaining the relief requested herein.

                                          VI.
                                     JURY DEMAND

      86.    SBIC demands a trial by jury on all claims and issues so triable

                                        VII.
                                  REQUESTED RELIEF

      WHEREFORE, SBIC respectfully prays and requests that Whinstone be cited to

appear and answer and that further, the Court award to SBIC the following:

      A.     All actual and consequential damages it has suffered;



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      B.     Exemplary damages;

      C.     All reasonable and necessary attorneys’ fees, expenses, and costs incurred
             in this action;

      D.     Prejudgment and post-judgment interest; and

      E.     All such other and further relief, special or general, legal or equitable as
             SBIC may be shown to be justly entitled to receive, including but not
             limited to its costs for bringing this suit.


                                                 Respectfully submitted,

                                                /s/ Joshua M. Sandler
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                                                 ATTORNEYS FOR PLAINTIFF
                                                 SBI CRYPTO CO. LTD


                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was served upon all
counsel of record in accordance with the Federal Rules of Civil Procedure via Electronic
Case Filing on July 6, 2023.

                                                 /s/ Joshua M. Sandler
                                                 Joshua M. Sandler




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